Case: 2:24-cv-04256-JLG-CMV Doc #: 20 Filed: 04/28/25 Page: 1 of 2 PAGEID #: 127




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 KELVIN R. LOVETT,

                       Plaintiff,

        v.                                              Civil Action 2:24-cv-4256
                                                        Judge James L. Graham
                                                        Magistrate Judge Chelsey M. Vascura
 SGT. GOBEL, et al.,

                       Defendants.



 KELVIN R. LOVETT,

                       Plaintiff,
                                                        Civil Action 2:25-cv-273
        v.                                              Judge James L. Graham
                                                        Magistrate Judge Chelsey M. Vascura

 C/O R. EVANS, et al.,

                       Defendants.




                                            ORDER

       This matter is before the Court on Plaintiff’s Motion to Consolidate Cases (Case No.

2:24-cv-4256, ECF No. 18; Case No. 2:25-cv-273, ECF No. 6). By way of background, Plaintiff

filed Case No. 2:24-cv-4256 (the “4256 Case”) On December 11, 2024. On February 25, 2025,

the undersigned advised Plaintiff that he may submit documents and postage as required by S.D.

Ohio Civ. Rule 4.2 to have the Clerk’s Office effect certified mail over Defendant Evans in the

4256 Case. (ECF No. 12.) On March 18, 2025, Plaintiff submitted documents that the Clerk’s

Office mistakenly took to represent an attempt to open a second case involving the same
Case: 2:24-cv-04256-JLG-CMV Doc #: 20 Filed: 04/28/25 Page: 2 of 2 PAGEID #: 128




allegations as the 4256 Case. The Clerk’s office therefore opened a new case under the number

2:25-273 (the “273 Case”). Plaintiff has since clarified that rather than seeking to open a new

case, he submitted those documents to have the Clerk’s Office issue certified mail service on

Defendant Evans in the 4256 Case as directed by the undersigned in the February 25, 2025

Order. (See 4256 Case, ECF No. 17; 273 Case, ECF No. 5.) Plaintiff subsequently filed the

subject Motion to Consolidate Cases in both cases. (4256 Case, ECF No. 18; 273 Case, ECF No.

6.)

       Given Plaintiff’s explanation that he did not intend to open an additional case, the Clerk

is DIRECTED to CLOSE Case No. 2:25-cv-273. As a result, Plaintiff’s Motion to Consolidate

Cases (4256 Case, ECF No. 18; 273 Case, ECF No. 6) is DENIED AS MOOT. If the submitted

documents are sufficient under S.D. Ohio Civ. R. 4.2 for the Clerk’s Office to issue certified

mail service on Defendant Evans in the 4256 Case, then the Clerk is DIRECTED to issue

certified mail service as requested. If the documents are not sufficient, the Clerk is DIRECTED

to issue a notice of deficiency identifying what additional materials are necessary.



       IT IS SO ORDERED.



                                                     /s/ Chelsey M. Vascura
                                                     CHELSEY M. VASCURA
                                                     UNITED STATES MAGISTRATE JUDGE




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